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10 Attorneys for Defendant ELIZABETH A. HOLMES

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13                             UNITED STATES DISTRICT COURT
14                           NORTHERN DISTRICT OF CALIFORNIA
15
                                      SAN JOSE DIVISION
16

17   UNITED STATES OF AMERICA,              )   Case No. CR-18-00258-EJD
                                            )
18          Plaintiff,                      )   MS. HOLMES’ UNOPPOSED
                                            )   ADMINISTRATIVE MOTION TO SET NEW
19     v.
                                            )   REPORTING DATE
20   ELIZABETH HOLMES and                   )
     RAMESH “SUNNY” BALWANI,                )
21                                          )   Hon. Edward J. Davila
            Defendants.                     )
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                                            )
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     MS. HOLMES’ UNOPPOSED ADMINISTRATIVE MOTION TO SET NEW REPORTING DATE
     CR-18-00258 EJD
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 1              NOTICE OF MOTION AND UNOPPOSED ADMINISTRATIVE MOTION

 2                                   TO SET NEW REPORTING DATE

 3          PLEASE TAKE NOTICE that in the above-captioned case, before the Honorable Edward J.

 4 Davila, Defendant Elizabeth Holmes hereby respectfully moves the Court to set a new date for Ms.

 5 Holmes to report to the Bureau of Prisons. The Motion is based on the below Memorandum of Points

 6 and Authorities, the record in this case, and any other matters that the Court deems appropriate.

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 8 DATED: May 17, 2023

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10                                                       /s/ Amy Mason Saharia
                                                         KEVIN DOWNEY
11                                                       LANCE WADE
                                                         AMY MASON SAHARIA
12                                                       KATHERINE TREFZ
                                                         Attorneys for Elizabeth Holmes
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     MS. HOLMES’ UNOPPOSED ADMINISTRATIVE MOTION TO SET NEW REPORTING DATE
     CR-18-00258 EJD
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 1                           MEMORANDUM OF POINTS AND AUTHORITIES

 2          Defendant Elizabeth Holmes, by undersigned counsel, respectfully moves the Court to set a new

 3 date for Ms. Holmes to report to the Bureau of Prisons.

 4          On November 18, 2022, this Court sentenced Ms. Holmes to 135 months’ incarceration, and

 5 ordered that she self-surrender on or before 2:00 p.m. on April 27, 2023. 11/18/22 Sent. Tr. at 133-134;

 6 see also Dkt. 1716 (judgment). Ms. Holmes’ April 27 reporting date was automatically stayed when she

 7 filed a motion for release pending appeal in the Ninth Circuit. Dkt. 1759; see also Ninth Circuit Rule 9-

 8 1.2(e) (“If the appellant is on bail at the time the motion is filed in this Court, that bail will remain in

 9 effect until the Court rules on the motion.”). On May 16, 2023, the Ninth Circuit denied Ms. Holmes’

10 motion. United States v. Holmes, No. 22-10312 (May 16, 2023), Dkt. 52.

11          Given that Ms. Holmes’ April 27 reporting date has now passed, Ms. Holmes respectfully

12 requests an order from this Court setting a new reporting date. Ms. Holmes is preparing to report to the

13 Bureau of Prisons. These preparations include out-of-state travel to her Bureau of Prisons facility and

14 medical and child-care arrangements in anticipation of beginning her 135-month sentence. In order for

15 Ms. Holmes to get all of these affairs in order, she respectfully requests that the Court set a new

16 reporting date two weeks from the order, May 30, 2023. See United States v. Balwani, No. 5:18-cr-258,

17 Dkt. 1756 (setting two-week self-surrender date following Ninth Circuit denial order). The government

18 has no objection to this request. See Declaration of Amy Mason Saharia in Support of Unopposed

19 Administrative Motion to Set New Reporting Date.

20

21 DATED: May 17, 2023

22                                                          /s/ Amy Mason Saharia
                                                            KEVIN DOWNEY
23                                                          LANCE WADE
                                                            AMY MASON SAHARIA
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                                                            KATHERINE TREFZ
25                                                          Attorneys for Elizabeth Holmes

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     MS. HOLMES’ UNOPPOSED ADMINISTRATIVE MOTION TO SET NEW REPORTING DATE
     CR-18-00258 EJD
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            Case 5:18-cr-00258-EJD Document 1761 Filed 05/17/23 Page 4 of 4




 1                                     CERTIFICATE OF SERVICE

 2         I hereby certify that on May 17, 2023 a copy of this filing was delivered via ECF on all counsel
 3 of record.

 4

 5                                                      /s/ Amy Mason Saharia
                                                        AMY MASON SAHARIA
 6                                                      Attorney for Elizabeth Holmes
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     MS. HOLMES’ UNOPPOSED ADMINISTRATIVE MOTION TO SET NEW REPORTING DATE
     CR-18-00258 EJD
